                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

                              Plaintiff,

-vs-                                                                Criminal Action No.
                                                                    18-00015-01-CR-W-BP
RASHIDI CROSDALE,

                        Defendant.
_____________________________________

                    MEMORANDUM OF MATTERS DISCUSSED AND
                    ACTION TAKEN AT PRETRIAL CONFERENCE

The following matters were discussed and action taken during the pretrial conference:

PENDING CHARGE: Possession with Intent to Distribute PCP in violation of 21 U.S.C. §§
                841(a)(1) and (b)(1)(C); Possessing a Firearm in Relation to Drug
                Trafficking in violation of 18 U.S.C. § 924(c)(1)(A)(i); and Felon in
                Possession of a Firearm in violation of 18 U.S.C. §§ 922(g)(1) and
                924(a)(2).

TRIAL COUNSEL:
      Government: Matthew Aaron Moeder
           Case Agent: John Straubel
      Defense:    Rashidi Crosdale is proceeding pro se


OUTSTANDING MOTIONS: Defendant’s Motion to Compel Discovery (Doc. 200) is pending
at the time of conference. The Government’s Response was filed on October 6, 2021, but because
the defendant first received the response at the pretrial conference, the defendant was given until
October 18, 2021 to file his reply, if any.

ANTICIPATED MOTIONS: The Government anticipates filing motions in limine.                      No
motions anticipated by Defendant other than those filings due October 18 as listed below.

TRIAL WITNESSES:
     Government:          15 witnesses without stipulations, with no stipulations expected.
     Defense:             23 witnesses, including Defendant who ( ) will
                                                                   ( ) may
                                                                   ( X ) will not testify
TRIAL EXHIBITS:
     Government:          75 exhibits, most of which are photographs.
     Defense:            28 exhibits, some of which may be duplicative of Government exhibits.




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DEFENSES:
    ( ) defense of general denial
    ( X ) defenses of general denial and necessity

POSSIBLE DISPOSITION:
     ( X ) Definitely for trial                      ( ) Possibly for trial
     ( ) Motion to continue to be filed              ( ) Likely a plea will be worked out

TRIAL TIME:     5 days
      Government’s case including jury selection:      2.5 days
      Defense case: 2.5 days

STIPULATIONS:
     ( X ) not likely
     ( ) not appropriate
     ( ) likely as to:
           ( ) chain of custody
           ( ) chemist’s reports
           ( ) prior felony conviction
           ( ) interstate nexus of firearm
           ( ) other: ______________________________________________________

UNUSUAL QUESTIONS OF LAW:                None.


FILING DEADLINES:

       Witness and Exhibit Lists:
       Government: Noon, October 18, 2021
       Defense: Noon, October 18, 2021
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, October 18, 2021
       Jury instructions must comply with Local Rule 51.1

       Motions in Limine:     Noon, October 18, 2021


TRIAL SETTING: Criminal jury trial docket commencing 11/1/2021
     Please note: The Government requests the second week of the trial docket due to a
     witness’s unavailability during the latter half of the first week of the docket. Both parties
     plan on calling this witness as part of their case-in-chief. Defendant Crosdale has no
     objection to a setting on the second week of the docket.

OTHER:

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( )   A _____________________-speaking interpreter is required.
( )   Other assistive devices:

IT IS SO ORDERED.

                                               /s/ Jill A. Morris
                                               JILL A. MORRIS
                                               United States Magistrate Judge




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